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In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00604-CV




IN RE DONALD C. JACKSON, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Donald C. Jackson, seeks relief
compelling the trial court to set a hearing for his petition to expunge the record for
a prior arrest.                 
We deny the petition for writ of mandamus.  All outstanding motions are
overruled as moot.        
&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Justices Keyes, Alcala, and Hanks.     

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